                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

IN RE:                                         §          Case No. 19-_______
                                               §
MONTEREY RESOURCES, et al.                     §          Chapter 11
                                               §          Joint Administration
       DEBTORS.1                               §


                            DECLARATION OF ROBERT A. IMEL

       1.       My name is Robert A. Imel. I am a resident of Monterey County, California,

have attained the age of majority, and am otherwise competent to make and give this declaration.

I make and give this declaration based upon my personal knowledge and the business records of

Monterey Resources, LLC (“Monterey”) and Green Wheel, LLC (“Green Wheel” and

collectively with Monterey, the “Debtors”) in the above-captioned chapter 11 cases (“Chapter

11 Cases”).

       2.       I am a Member and President of Monterey, a Texas limited liability company with

its headquarters recently moved to Monterey, California.2 Green is a Delaware limited liability

company. Green Wheel’s sole member is Monterey.

       3.       On May 14, 2019 (the “Petition Date”), the Debtors filed petitions with the

United States Bankruptcy Court for the Western District of Louisiana, Lafayette Division (this

“Court”) under chapter 11 of the United States Code (the “Bankruptcy Code”). As of the

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         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s
federal tax identification number, are: Monterey Resources, LLC (-7303) (Case No. 19-xxxx);
Green Wheel, LLC (-8860) (Case No. 19-xxxx). Contemporaneously with the filing of these
chapter 11 cases, the Debtors are filing a Motion for Order under Bankruptcy Rule 1015(b)
Directing the Joint Administration of Chapter 11 Cases. The Debtors’ service address is 660
Camino Aquajito, Suite 300, Monterey, California 93940.
       2
           The Debtors’ offices recently moved from Dallas, Texas to Monterey, California.




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Petition Date, the Debtors shall operate their business and manage their property as debtors-in-

possession pursuant to Bankruptcy Code sections 1107(a) and 1108. No request for the

appointment of a trustee or examiner has been made in the Chapter 11 Cases, and no committees

have been appointed or designated.

       4.      Except as otherwise indicated, all facts set forth herein are based upon my

personal knowledge of the Debtors’ operations and finances, information learned from my

review of relevant documents and information supplied to me by other members of the Debtors’

management and the Debtors’ advisors. I am authorized to submit this declaration (this

“Declaration”) on behalf of the Debtors, and, if called upon to testify, I could and would testify

competently to the facts set forth herein.

                                              PART I

                                 PRELIMINARY STATEMENT

       5.      To enable the Debtors to minimize the adverse effects of the commencement of

these Chapter 11 Cases on their business, and to avoid immediate and irreparable harm, the

Debtors have requested various types of relief in their “first day” motions and applications

(collectively, the “First Day Motions” and each a “First Day Motion”). The First Day Motions

seek relief intended to allow the Debtors to effectively transition into chapter 11 and minimize

disruption of the Debtors’ business operations, thereby preserving and maximizing the value of

the Debtors’ estates.

       6.      I am familiar with the contents of each First Day Motion (including the exhibits

thereto), and I believe that the relief sought in each First Day Motion: (a) is necessary to enable

the Debtors to operate in chapter 11 with minimal disruption or loss of business; (b) constitutes a

critical element to achieving a successful result in the Chapter 11 Cases and preserving the value

of the Debtors’ assets; and (c) best serves the interests of the Debtors’ estates and creditors.


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         7.     Part II of this Declaration describes the Debtors’ business, the structure of the

Debtors’ operations, and the circumstances surrounding the commencement of these Chapter 11

Cases.

         8.     Part III sets forth the relevant facts in support of each of the First Day Motions.

                                              PART II

                OVERVIEW OF THE DEBTORS’ BUSINESS OPERATIONS

         9.     The Debtors are a small independent oil and gas company with mineral interests

in Louisiana.

         10.    The Debtors own certain producing and non-producing mineral interests, and

associated assets, in the Parishes of Claiborne, Webster, and Caddo Parishes, State of Louisiana

(collectively and hereafter “Mineral Interests”). The Debtors are party to and/or successor in

interest to multiple mineral leases in connection with the Mineral Interests and, as such, owe

express and implied obligations concerning the continued maintenance of these leases, including

the duties of a prudent operator and payment of royalties under applicable law. Monterey is also

the Operator of Record with the Louisiana Commissioner of Conservation of the Mineral

Interests and, as such, owes duties to the State and other unit interest owners regarding the

operation of the Mineral Interests.

         11.    On May 15, 2018, Monterey and Green Wheel (as borrowers) entered into an

amended and restated credit agreement (the “Credit Agreement”) with 405 Arapahoe LLC

(hereafter “Arapahoe”), as administrative agent for the lenders (as identified therein, the

“Prepetition Lenders”), under which the lenders agreed to advance a principal amount of

$15,000,000.00 to Monterey and Green Wheel. The $15,000,000.00 principal loan amount was

evidenced by three promissory notes (the “Notes”). As security under the Credit Agreement, the

Debtors executed two mortgages in favor of Arapahoe covering the Mineral Interests.


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       12.        As of the Petition Date, the principal amount ($15,000,000) remains outstanding.

It is my understanding that Arapahoe has asserted in prior court filings that the Debtors are

obligated to pay contractual interest on the unpaid principal balance at a default rate of 18.0%

per annum from and after March 1, 2019, until paid (a per diem of $7,500.00), plus certain

amounts allegedly due thereunder.3 If these assertions are demonstrated to be correct, the

Prepetition Lenders would be owed approximately $15,555,000 in principal and interest as of the

Petition Date.4

       13.        Under the Credit Agreement, the Debtors are obligated to “operate [the Mineral

Interests] . . . in a careful and efficient manner in accordance with the customary practices of the

industry and in compliance with all applicable contacts and agreements and in compliance with

all applicable Governmental Requirements. . . .” Credit Agreement at § 5.05(a). The Credit

Agreement further requires Monterey to “promptly pay and discharge, or use commercially

reasonable efforts to cause to be paid and discharged, all material delay rentals, royalties,

expenses and indebtedness accruing under the leases or other agreements affecting or pertaining

to [the Mineral Interests]. . . .” Credit Agreement at § 5.05(c). The Credit Agreement also

requires Monterey to “promptly perform or use commercially reasonable efforts to cause to be

performed, in accordance with industry standards, the material obligations required by each and

all of the assignments, deeds, leases, sub-leases, contracts and agreements affecting its interests

in [the Mineral Interests]. . . .” Credit Agreement at § 5.05(d).




       3
         It is further my understanding that the Debtors reserve all rights relating to this
statement by the Arapahoe.
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         Calculated based on the purported per diem interest rate of $7,500 over a course of 74
days (from March 1, 2019 until May 14, 2019).



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       14.     Under the Credit Agreement, Monterey was obligated to “(a) remit all payments

received by it to the Lockbox Account [as previously defined] and (b) direct all account debtors

and royalty payors to remit all payments due to [Monterey] to the Lockbox Account.” Credit

Agreement at § 5.12. Thus, pursuant to this provision, all revenue received by Monterey from

the Wells was deposited into an account controlled by Arapahoe (the “Lockbox Account”). The

money deposited into the Lockbox Account was the gross proceeds from Monterey’s oil and gas

operations, and included royalties and other working interest revenues.

       15.     From September 27, 2018 forward, Arapahoe took total control of the Lockbox

Account.     Arapahoe controlled the payment, or lack thereof, of royalties to Louisiana

landowners. Arapahoe controlled the payment, or lack thereof, to lessors in Louisiana for lease

maintenance necessary to conduct Monterey’s operations in Louisiana.

       16.     The gross proceeds in the Lockbox Account also included funds that paid for the

ongoing operation of the oil and gas wells in Louisiana. Arapahoe refused to provide funds from

the Lockbox Account to the Debtors so that they could pay Vendors providing services for the

day to day operations associated with the Mineral Interests.

       17.     Through its control of the Lockbox, Arapahoe controlled the purse strings and

thus all decisions regarding well maintenance, work-over operations, recompletion, sidetracking,

lease maintenance, royalty payment, etc. for the Mineral Interests.

       18.     Despite repeated requests and other efforts by Monterey to fulfill its obligations

under the Credit Agreement, Arapahoe interfered with and thwarted Monterey’s efforts to

operate the Louisiana Mineral Interests prudently. Interference occurred not only through the

failure to release third-party funds held in the Lockbox Account, specifically royalty and other




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working interest owner funds, but also by Arapahoe’s failure to allow Lockbox Funds to be used

to pay operating expenses associated with the Mineral Interests.

       19.     On March 8, 2019, Arapahoe filed a Petition for Executory Process in the Second

Judicial District Court for the Parish of Claiborne, State of Louisiana. Arapahoe — without

notice or service — obtained a Writ of Seizure and Sale (“Writ of Seizure”) directing the

Sheriffs of Claiborne Parish, Webster Parish, Caddo Parish, and Union Parish to seize the

Mineral Interests and movable property located in their respective parishes, as well as moveable

property located in the States of Texas and Oklahoma.

       20.     The Sheriffs in all of the aforementioned Parishes have acted on the Claiborne

Parish Writ of Seizure. The Sheriff’s Sale of Monterey’s and Green Wheel’s property is

scheduled for July 24, 2019. Monterey and Green Wheel were served with a notice of seizure on

March 25, 2019.

       21.     Monterey thus has been prevented from performing its required duties under the

Credit Agreement, leases, unit orders, etc., as operator of the Mineral Interests.   Despite the

foregoing actions, Arapahoe has not enrolled as Operator of Record for the Mineral Interests

with the Louisiana Commissioner of Conservation.

       22.     A Keeper has been appointed pursuant to the Claiborne Parish Writ of Seizure,

but the Keeper is merely performing services for a fee under contract and has not agreed nor

undertaken the duties, responsibilities and obligations of an Operator of Record. Thus the duties

of an operator under the Credit Agreement, leases, unit orders, etc. remain unperformed due to

the action and/or inaction of Arapahoe.




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                                            PART III

                                      FIRST DAY MOTIONS

        23.    Contemporaneously with the filing of the voluntary petitions to commence these

Chapter 11 Cases, the Debtors have filed a number of First Day Motions. The Debtors anticipate

the Court will conduct a hearing within a business day or two after commencement of the

Chapter 11 Cases (the “First Day Hearing”), during which the Court will entertain the

arguments of counsel with respect to the relief sought in each of the First Day Motions.

        24.    Generally, the First Day Motions have been designed to meet the immediate goals

of: (a) establishing procedures for the efficient administration of these Chapter 11 Cases; and (b)

continuing the Debtors’ operations during these Chapter 11 Cases with as little disruption as

possible. I have reviewed the First Day Motions, including the exhibits attached thereto, and

believe that the relief sought in each of the First Day Motions is narrowly tailored to meet the

goals described above and, ultimately, will be critical to the Debtor’s ability to achieve success

through these Chapter 11 Cases.

        25.    The following is a discussion of the First Day Motions that the Debtors will ask

the Court to consider at the First Day Hearing.

A.      Motion for Interim and Final Orders Authorizing Use of Cash Collateral and
        Providing Adequate Protection (the “Cash Collateral Motion”)

        26.    Contemporaneously herewith, the Debtors will file the Cash Collateral Motion

seeking an order (i) authorizing the interim use of Cash Collateral and (ii) setting a final hearing

thereon, in order to maximize the value of the estates and to prevent irreparable harm to the

Debtors prior to the Final Hearing.




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        27.      Attached to the Cash Collateral Motion is a true and correct copy of a Report as of

December 31, 2018 on Reserves and Revenue of Certain Properties with Interests Attributable to

Monterey Resources LLC (the “Reserve Report”) performed by DeGolyer and MacNaughton.

        28.      As explained in the Cash Collateral Motion, the Reserve Report shows that the

Mineral Interests are worth $21,473,000 which provides an equity cushion of $5,918,000 or

more than 38% of the amount of Prepetition Indebtedness.5 I believe that this equity cushion

provides Arapahoe with sufficient adequate protection as required by the Bankruptcy Code.

B.      Motion to Compel Turnover of Estate Property (the “Turnover Motion”)

        29.      Contemporaneously herewith, the Debtors will file the Turnover Motion seeking

an order from this Court requiring Arapahoe to turnover all assets of the estate, including the

Lockbox Account. The Debtors also are asking for an accounting of the Lockbox Account as

required by section 543(b)(2).

 C.    Motion for an Order Limiting Notice & Establishing Notice Procedures (the “Motion
to Limit Notice”)

        30.      Contemporaneously herewith, the Debtors will file their Motion to Limit Notice.

The Debtors seek entry of an order limiting notice to certain creditors and parties-in-interest as

well as to establish certain notice procedures. The Debtors also respectfully request approval of

the “Special Service List,” as defined in the Motion to Limit Notice, and approval to update and

amend the Special Service List from time to time and to add parties requesting notice without

further motion or order form this Court. The Special Service List is requested in this Motion to

provide necessary creditors and other interested parties with adequate opportunity to object as

required by the Bankruptcy Code and Bankruptcy Rules. Specifically, the Motion to Limit

Notice provides notice will be given to (a) the Office of the United States Trustee for the

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            See paragraphs 11 and 12 above.



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Western District of Louisiana; (b) the Debtors and their counsel (including each of the Debtors’

interest holders); (c) Arapahoe and its counsel; (d) all other secured creditors of the Debtor; (e)

the Debtors’ largest twenty (20) unsecured creditors; and (f) any governmental agencies having a

regulatory or statutory interest in these Chapter 11 Cases.

         31.     Furthermore, I understand that the relief sought through the Motion to Limit

Notice does not contravene the Bankruptcy Rules in that the Special Service List will not apply

to:     (a) notice of the first meeting of creditors pursuant to Bankruptcy Code section 341; (b)

notice of the time fixed for filing proofs of claim; (c) notice of the hearing to consider approval

of the disclosure statement and confirmation of a plan; (d) notice of the times fixed for filing

objections to the disclosure statement and plan; (e) notice of the times fixed to submit ballots for

accepting or rejecting the plan; (f) notice of any hearing on dismissal or conversion of this

Chapter 11 Case; and (g) notice of any proposed Sale Transaction involving all or substantially

all of the Debtor’s assets.6

                                         CONCLUSION

         32.      For the reasons described herein and the First Day Motions, I believe that the

prospect for achieving these objectives for the benefit of these estates and the Debtors’ creditors,

as well as any other parties-in-interest, will be substantially enhanced if the Court grants the

relief requested in each of the First Day Motions and respectfully request the Court to do so.



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         6
             See also Section 6 of the local Administrative Procedures for the United States
Bankruptcy Court for the Western District of Louisiana.



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                                       DECLARATION

       I declare, pursuant to 26 U.S.C. § 1746, under penalty of perjury, that the foregoing is

true and correct to the best of my information, knowledge, and belief.

Dated: May 14, 2019.

                                     /s/ Robert A. Imel
                                     Robert A. Imel




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